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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FT. LAUDERDALE DIVISION

  CONSWALLO TURNER, TIESHA FOREMAN,  )
  ANGELINA WELLS, VERONICA KING,     )
  NAVAQUOTE, LLC and WINN INSURANCE  )
  AGENCY, LLC, individually and on behalf of all
                                     )                             Civil Case No.: 24-cv-60591-MD
  others similarly situated,         )
                                     )
         Plaintiff,                  )                             CLASS ACTION
  v.                                 )
                                     )
  ENHANCE HEALTH, LLC, TRUECOVERAGE, )
  LLC, SPERIDIAN TECHNOLOGIES, LLC,  )
  NUMBER ONE PROSPECTING, LLC        )
  d/b/a MINERVA MARKETING,           )
  MATTHEW B. HERMAN and              )
  BRANDON BOWSKY,                    )
                                     )
         Defendant.                  )
                                     )

                    UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

          Pursuant to Local Rule 11.1(d)(3) and Florida Rules of Professional Conduct Rule 4-

  1.16(b), counsel Patrick P. O’Donnell of law firm HWG LLP (“HWG”), respectfully requests leave

  to withdraw as counsel for Defendants TrueCoverage, LLC, Benefitalign, LLC, Speridian

  Technologies, LLC, Girish Panicker, and Matthew Goldfuss (“Defendants”), individually and on

  behalf of all others similarly situated in this case.

          Undersigned counsel is leaving HWG, necessitating his withdrawal. Defendants continue

  to be represented by HWG and by local counsel Devine Goodman & Rasco, LLP.

          No prejudice will accrue to Plaintiffs or to any other party or to the Court’s efficient

  administration of this matter if the relief sought herein is granted.

          Defendants conferred with Plaintiffs’ counsel regarding his intention to withdraw as

  counsel. Plaintiffs do not oppose this Motion.
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          WHEREFORE, Patrick P. O’Donnell respectfully requests that this Court grant him leave

  to withdraw as counsel in this matter and to remove his name and e-mail from electronic

  notification.

          Dated October 25, 2024.

                                             Respectfully Submitted,

                                             DEVINE GOODMAN & RASCO, LLP
                                             2800 Ponce de Leon Blvd., Suite 1400
                                             Coral Gables, FL 33134
                                             Tel.: (305) 374-8200
                                             Email: grasco@devinegoodman.com

                                              /s/ Guy A. Rasco
                                             Guy A. Rasco F.B.N.: 727520)

                                             And of Counsel (appearing pro hac vice)

                                             Amy E. Richardson
                                             HWG LLP
                                             333 Fayetteville Street, Suite 1500
                                             Raleigh, NC 27601

                                             Patrick P. O’Donnell
                                             Walter E. Anderson
                                             HWG LLP
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                                             Washington, D.C. 20036

                                             Attorneys for Defendants TrueCoverage, LLC,
                                             Benefitalign, LLC, Speridian Technologies, LLC,
                                             Girish Panicker, and Matthew Goldfuss




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served on

  this 25th day of October 2024, via the CM/ECF Filing System, in a manner authorized by the

  Federal Rules of Civil Procedure to all counsel of record.

                                                       /s Guy A. Rasco
                                                       Guy A. Rasco




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